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1
                       UNITED STATES DISTRICT COURT
2
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA
3
                                              )
4    JOHN SHIPMON,                            )
5
                                              )
                  Plaintiff,                  ) C.A. No.: 2:19-cv-1569
6                                             )
     v.                                       )
7
                                              )
8    ASHFORD UNIVERSITY,                      )
                                              ) COMPLAINT AND DEMAND FOR
9
                     Defendant.               ) JURY TRIAL
10                                            )

11
                                       COMPLAINT
12

13
           JOHN SHIPMON (“Plaintiff”), by and through his attorneys, KIMMEL &

14   SILVERMAN, P.C., alleges the following against ASHFORD UNIVERSITY
15
     (“DEFENDANT”):
16

17                                   INTRODUCTION

18
           1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection
19
     Act, 47 U.S.C. §227.
20

21                             JURISDICTION AND VENUE

22         2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331. See Mims v.
23
     Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
24
           3.     Defendant regularly conducts business in the Commonwealth of
25

26   Pennsylvania, thus, personal jurisdiction is established.
27                                           -1-

28
                                     PLAINTIFF’S COMPLAINT
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1          4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
2
                                           PARTIES
3
           5.      Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
4

5          6.      Plaintiff is a natural person residing in Pittsburgh, Pennsylvania

6    15233.
7
           7.      Defendant is a “person” as that term is defined by 47 U.S.C. §
8
     153(39).
9

10         8.      Defendant is a corporation with its principal place of business located
11   at 13500 Evening Creek Drive North, Suite 600, San Diego, California 92128.
12
           9.      Defendant acted through its agents, employees, officers, members,
13

14
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

15   representatives, and insurers.
16
                                FACTUAL ALLEGATIONS
17
           10.     Plaintiff has a cellular telephone number that he has had for at least
18

19
     one year.

20         11.     Plaintiff has only used this phone as a cellular telephone.
21
           12.     Defendant placed repeated harassing telephone calls to plaintiff.
22
           13.     Defendant used an automatic telephone dialing system, automated
23

24   message and/or prerecorded voice when contacting Plaintiff.

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28
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1          14.      Plaintiff knew that Defendant was using an automated telephone
2
     dialing system because the calls began with a discernible pause or delay prior to
3
     connecting to one of Defendant’s live agents.
4

5          15.      Defendant’s telephone calls were not made for “emergency purposes.”

6          16.      It was annoying and frustrating for Plaintiff to be called on his cellular
7
     telephone with such regularity.
8
           17.      Shortly after Defendant’s calls commenced in, Plaintiff spoke with
9

10   Defendant’s callers to advise them he no longer wanted to be contacted on his
11   cellular telephone, thereby revoking any consent that may have been previously
12
     given to Defendant to contact him on this number.
13

14
           18.      Once Defendant was informed that that its calls were unwanted and to

15   stop, there was no lawful purpose to making further calls, nor was there any good
16
     faith reason to place calls.
17
           19.      Defendant heard and acknowledged Plaintiff’s instructions to stop
18

19
     calling him.

20         20.      Nevertheless, Defendant failed to update its records to restrict
21
     telephone calls to Plaintiff’s cellular telephone.
22
           21.      Defendant continued to call Plaintiff on his cellular telephone multiple
23

24   times per week despite Plaintiff’s repeated reiterations to Defendant to stop calling

25   his cellular telephone.
26

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28
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1          22.     Upon information and belief, Defendant conducts business in a
2
     manner which violates the TCPA.
3
                                     COUNT I
4
                           DEFENDANT VIOLATED THE TCPA
5
           23.     Plaintiff incorporates the forgoing paragraphs as though the same were
6

7
     set forth at length herein.

8          24.     Defendant initiated multiple automated telephone calls to Plaintiff’s
9
     cellular telephone number.
10
           25.     Defendant’s initiated these automated calls to Plaintiff using an
11

12   automatic telephone dialing system.

13         26.     Defendant repeatedly placed non-emergency calls to Plaintiff’s
14
     cellular telephone.
15
           27.     Under § 227(b)(3)(A) of the TCPA, a person or entity may bring a
16

17   private cause of action in an appropriate court based on a violation of the TCPA or
18   the regulations prescribed under the TCPA to enjoin such violation.
19
           28.     Under § 227(b)(3)(B) of the TCPA, a person or entity may bring a
20
     private cause of action in an appropriate court “to recover for actual monetary loss
21

22   from such a violation, or to receive $500 in damages for each such violation
23
     whichever is greater.”
24

25

26

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1          29.     Based upon the conduct of Defendant, Plaintiff avers that the
2
     enhancement of damages provided for by the TCPA allowing for Plaintiff to
3
     recover up to $1,500 per call/violation be applied to calls placed.
4

5          30.     Defendant’s conduct violated § 227(b)(1)(A)(iii) of the TCPA by

6    placing repeated calls using an automatic telephone dialing system to Plaintiff’s
7
     cellular telephone.
8
           31.     Defendant’s calls to Plaintiff’s cellular telephone were not made with
9

10   Plaintiff’s prior express consent.
11         32.     Defendant’s acts as described above were done with malicious,
12
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
13

14
     under the law and with the purpose of harassing Plaintiff.

15         33.     The acts and/or omissions of Defendant were done unfairly,
16
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
17
     lawful right, legal defense, legal justification or legal excuse.
18

19
           34.     As a result of the above violations of the TCPA, Plaintiff has suffered

20   the losses and damages as set forth above entitling Plaintiff to an award of
21
     statutory, actual and treble damages.
22
                                   PRAYER FOR RELIEF
23

24      WHEREFORE, Plaintiff, JOHN SHIPMON, respectfully prays for a judgment

25   as follows:
26

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28
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1                  a.      All actual damages suffered pursuant to 47 U.S.C. §
2
                           227(b)(3)(A);
3
                   b.      Statutory damages of $500.00 per violative telephone call
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5                          pursuant to 47 U.S.C. § 227(b)(3)(B);

6                  c.      Treble damages of $1,500.00 per violative telephone call
7
                           pursuant to 47 U.S.C. §227(b)(3);
8
                   d.      Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
9

10                 e.      Any other relief deemed appropriate by this Honorable Court.
11

12
                                DEMAND FOR JURY TRIAL
13

14
            PLEASE TAKE NOTICE that Plaintiff, JOHN SHIPMON, demands a jury

15   trial in this case.
16
                                        RESPECTFULLY SUBMITTED,
17
                                        By: /s/ Amy L. Bennecoff Ginsburg
18                                      Amy L. Bennecoff Ginsburg, Esq.
19
                                        Kimmel & Silverman, P.C.
                                        30 East Butler Pike
20                                      Ambler, PA 19002
                                        Telephone: (215) 540-8888
21
                                        Facsimile (215) 540-8817
22                                      Email: aginsburg@creditlaw.com
                                        Attorney for Plaintiff
23

24   Dated: 12-5-19

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                                      PLAINTIFF’S COMPLAINT
